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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


             UNITED STATES OF AMERICA,                         )
                             Plaintiff                         )
                                v.                             )      Case No.     17-201-2 (ABJ)
                  RICHARD W. GATES III,                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Richard W. Gates III                                                                                         .


Date:          02/22/2018                                                               /s/Thomas C. Green
                                                                                         Attorney’s signature


                                                                                 Thomas C. Green, D.C. Bar #14498
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